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 5
     Attorney for Defendant
 6   OSCAR SANTANA

 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA        )            CASE NO.: 2:04-cr-00389-MCE
14                                   )
          Plaintiff,                 )
15
                                     )
16        v.                         )            REQUEST FOR ORDER AND ORDER
                                     )            EXONERATING BOND
17   OSCAR SANTANA,                  )
                                     )
18
          Defendant.                 )
19   ________________________________)

20
           On or about October of 2004, a $200,000 appearance bond, secured by a deed
21
22   against the two real properties owned by Ramon Santana and Maria Santana, and Maria

23   Santana's $70,000 IRA was posted on behalf of Oscar Santana. Oscar Santana was
24   sentenced on October 5, 2007and is presently in custody.
25
           It is hereby requested that the $200,000.00 secured appearance bond be
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     exonerated and a reconveyance for 9 Tennessee Drive, Woodland, CA, 95695 and 465
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28   Ford Ave, Gridley, CA, 95948 be executed.
      Case 2:04-cr-00389-MCE Document 340 Filed 08/25/08 Page 2 of 2


 1
 2
     Dated: August 21, 2008                      Respectfully submitted,
 3
 4
                                                 /S/Dwight M. Samuel
 5
                                                 Dwight M. Samuel
 6                                               Attorney for Defendant

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11         IT IS HEREBY ORDERED that the bail bond in the amount of $200,000.00 posted
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     by Ramon Santana and Maria Santana and secured by two Deeds of Trust and an IRA is
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     hereby exonerated and a reconveyance be done on both properties.
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15    Dated: August 22, 2008

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                                           ______________________________
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                                           MORRISON C. ENGLAND, JR.
18                                         UNITED STATES DISTRICT JUDGE

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